Case 17-04034   Doc 69-4   Filed 03/08/18 Entered 03/08/18 16:57:38   Desc Exhibit
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                                                                          EXHIBIT 13-2


                          JASON ZILBERBRAND
                   Bank of America Acct. Ending in #2871

Transaction
Date:         Description                  Amount     Memo
09/26/2014    Fin Feather Fur Outfitters     2,616.93
10/01/2014    Gat Guns, Inc.                    25.07
10/01/2014    Gat Guns, Inc.                    55.00
10/12/2014    Gat Guns, Inc.                   173.59
10/18/2014    Gat Guns, Inc.                    26.44
10/18/2014    Gat Guns, Inc.                   466.53
10/26/2014    Gat Guns, Inc.                   348.27
11/01/2014    Gat Guns, Inc.                    25.07
11/01/2014    Reactive Gunworks              2,800.85
11/08/2014    Gat Guns, Inc.                    55.00
11/14/2014    Gat Guns, Inc.                   150.22
11/21/2014    Gat Guns, Inc.                    26.43
11/25/2014    Milt Sparks Holsters             129.00
01/16/2015    Gat Guns, Inc.                    22.63
01/17/2015    Nielsen Enterprises              639.81 All-Terrain Vehicles
01/20/2015    Nielsen Enterprises              447.23
02/20/2015    Sheffield Financial, LLC         240.29
02/23/2015    Headwaters Polaris               170.18
03/22/2015    Bass Pro Shops                   447.20
03/22/2015    Bass Pro Shops                    26.99
04/11/2015    Dainese D. Store               1,090.84 Motorcycle Apparel
04/16/2015    Moto Union                     1,500.00
04/20/2015    Ride Chicago                     265.00
09/17/2015    Oksalbu Company                  933.10
12/01/2015    Barney’s Internet              1,150.69
12/04/2015    Mr. Porter.com                 1,265.00
01/12/2016    Mr. Porter.com                 1,146.00
01/21/2016    Mr. Porter.com                   403.50
02/25/2016    Running Away Multisport        2,422.09
04/24/2016    www.Gunbroker.com                 53.33
05/10/2016    SP * Roka Sports                 900.00
05/13/2016    Mr. Porter.com                   715.00
05/31/2016    Maestro UK                     2,208.98
09/12/2016    John Varvatos                  2,498.00
              Total                        $25,444.26
